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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )
                   Plaintiff,            )                 4:03CR3014
                                         )
             v.                          )
                                         )
HA T.T. NGUYEN,                          )                MEMORANDUM
                                         )                 AND ORDER
                   Defendant.            )
                                         )

      The defendant seeks the appointment of counsel in order to file a motion to
reduce her sentence under the changes to the crack Guidelines that will become
retroactively effective on November 1, 2011.       Because the defendant was held
responsible for 850 grams of crack (filing no. 192 (PSR ¶ 41)), because the
defendant’s base offense level was previously reduced to level 34 following an earlier
change to the crack Guidelines (filing no. 401 (Retroactive Sentencing Worksheet))
with a resulting decrease in her sentence (filing no. 400 (Order granting sentence
reduction from 210 months to 168 months)) and because the most recent retroactive
changes to the Guidelines will not alter her base offense level or any other relevant
calculation, I will deny the motion. More simply, the defendant is not entitled to a
sentence reduction and therefore there is no need to appoint counsel.


      IT IS ORDERED that the Motion Requesting Counsel (filing no. 442) is denied.
My chambers shall provide copies of this Memorandum and Order to: David
Stickman, Federal Public Defender; Kelly Nelson, Supervising United States
Probation Officer; and Craig Ford, United States Probation Officer.

      DATED this 31 st day of August, 2011.

                                       BY THE COURT:
                                       Richard G. Kopf
                                       United States District Judge
